Case 3:17-cv-00072-NKM-JCH Document 874 Filed 09/15/20 Page 1 of 2 Pageid#: 14311




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES et al.,                       )       Civil Action No. 3:17-cv-00072
       Plaintiffs,                              )
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER et al.,                         )
       Defendants.                              )       By:    Joel C. Hoppe
                                                )              United States Magistrate Judge

         This matter is before the Court on Plaintiffs’ motion to suspend certain trial-related

  deadlines in light of the Court’s recent order continuing the October 2020 trial date. Pl.’s Mot.,

  ECF No. 870. On September 14, 2020, the presiding District Judge reset the matter for a four-

  week jury trial tentatively scheduled to begin on April 26, 2021. For good cause shown,

  Plaintiffs’ motion is GRANTED, and the deadlines for parties to submit witness lists, motions in

  limine and responses, deposition designations, counter designations and objections, proposed

  jury instructions, and special interrogatories are hereby SUSPENDED pending further order of

  the Court. See ECF No. 597, at 2. Within fourteen (14) days of this Order the parties are directed

  to submit a joint proposed schedule setting new deadlines for these submissions. If the parties

  cannot agree on a proposed deadline, they should note the different proposals in their joint filing.

         This Order does not apply to deadlines that have already passed, see ECF Nos. 101, 329,

  461, 597, 791, or to motions that are currently pending. Any party seeking to extend an expired

  deadline shall, within fourteen (14) days of this Order, file a motion showing the party failed to

  act because of excusable neglect and there is good cause to extend the time previously allowed.

  See Agnew v. United Leasing Corp., 680 F. App’x 149, 155 (4th Cir. 2017) (“A district court

  may extend a deadline for good cause if the party can show that the delay was ‘because of

  excusable neglect.’” (quoting Fed. R. Civ. P. 6(b)(1)(B)).
Case 3:17-cv-00072-NKM-JCH Document 874 Filed 09/15/20 Page 2 of 2 Pageid#: 14312




        It is so ORDERED.

                                           ENTER: September 15, 2020



                                           Joel C. Hoppe
                                           U.S. Magistrate Judge
